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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                            Magistrate Judge Kathleen M. Tafoya

  Civil Action No. 07-cv-02235-MSK-KMT


  DONALD N. TARANTO,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

         Defendant.


                                      MINUTE ORDER


  KATHLEEN M. TAFOYA, United States Magistrate Judge
  Janet D. Zinser, Judicial Assistant


  The “United State’s [sic] Motion for Leave to Attend Status Conference Telephonically” (#53,
  filed April 30, 2008) is GRANTED. Counsel may appear via telephone for the Status Conference
  on May 5, 2008 and shall call (303) 335-2780 at 9:00 a.m.

  Dated: May 1, 2008
